                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

       v.                                                  Case No. 09-CR-248

TYRONE MALONE
                     Defendant.


                                            ORDER

       On March 24, 2011, I sentenced defendant Tyrone Malone to 77 months in prison

followed by 4 years of supervised release on his guilty plea to conspiracy to distribute 50 grams

or more of cocaine base and 5 kilograms or more of cocaine. Defendant completed the prison

sentence and commenced supervision on May 23, 2014. On October 12, 2016, defendant filed

a motion for early termination of supervised release. I directed the government to respond and

allowed defendant to reply. I now deny the motion.

                                                 I.

       Pursuant to 18 U.S.C. § 3583(1), the court may grant early termination if: (1) the

defendant has completed at least one year of supervision; (2) the government has been given

notice and an opportunity to be heard; and (3) the court finds that termination is in the interest

of justice based on the defendant’s conduct and the pertinent sentencing factors under 18

U.S.C. § 3553(a). E.g., United States v. Smith, No. 09-CR-20, 2016 BL 43385, at *1 (E.D. Wis.

Feb. 15, 2016). The first two criteria are met in this case; the issue is whether termination

would be in the interest of justice.

       “[T]he district court has wide discretion in determining whether to terminate an



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individual’s term of supervised release.” United States v. Hook, 471 F.3d 766, 771 (7th Cir.

2006). The court must consider the applicable § 3553(a) factors, although it need not make

explicit findings as to each one.1 United States v. Lowe, 632 F.3d 996, 998 (7th Cir. 2011). In

considering the defendant’s conduct on supervision, courts have generally required more than

mere compliance before granting early termination. E.g., Folks v. United States, 733 F. Supp.

2d 649, 652 (M.D.N.C. 2010 (collecting cases). Courts have tended to grant such relief in

cases where the defendant’s behavior has been exceptionally good, where supervision hinders

rather than fosters the defendant’s rehabilitation, or where some new or unforeseen

circumstance otherwise supports a reduction of the original supervision term. See, e.g., United

States v. White, No. 06-CR-50, 2012 BL 275841, at *2 (E.D. Wis. Oct. 19, 2012) (collecting

cases); United States v. O’Hara, No. 00-CR-170, 2011 BL 458029, at *3 (E.D. Wis. Sept. 16,

2011) (collecting cases).

       The defendant bears the burden of demonstrating that early termination is warranted.

White, 2012 BL 275841, at *2 (citing United States v. Weber, 451 F.3d 552, 559 n.9 (9th Cir.

2006); United States v. Weintraub, 371 F. Supp. 2d 164, 167 (D. Conn. 2005); United States

v. McKay, 352 F. Supp. 2d 359, 361 (E.D. N.Y. 2005)). The court need not hold a hearing

before denying such a motion. United States v. Curry, No. 09-30026-DRH, 2016 BL 269382,

at *1-2 (S.D. Ill. Aug. 18, 2016) (citing United States v. Nonahal, 338 F.3d 668, 671 (7th Cir.


       1
        The statutory factors include the nature and circumstances of the offense and the
history and characteristics of the defendant, § 3553(a)(1); the need for the sentence imposed
to afford adequate deterrence to criminal conduct, § 3553(a)(2)(B), to protect the public from
further crimes of the defendant, § 3553(a)(2)(C), and to provide the defendant with correctional
treatment in the most effective manner, § 3553(a)(2)(D); the guidelines and any pertinent policy
statements issued by the Sentencing Commission, § 3553(a)(4) & (a)(5); the need to avoid
unwarranted sentencing disparities, § 3553 (a)(6); and the need to provide restitution to any
victims of the offense, § 3553(a)(7).

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2003); United States v. Reagan, 162 Fed. Appx. 912, 913 (11th Cir. 2006)).

                                                II.

      Defendant bases his request on his employment, providing a letter from his employer

praising his character; his acceptance into a CDL driving course, which may lead to

employment as an over-the-road truck driver; and his involvement in the community, including

volunteer work for the Urban League and a speaking engagement at a stop the violence rally.

He further indicates that he is up to date on child support payments, has become a care-giver

for his mother, and plans on re-enrolling in college to complete his associates degree in human

resources. He also attaches certificates he earned in prison.

      These are commendable accomplishments. However, defendant overlooks the serious

compliance issues he had earlier in the supervision term. As the supervising probation officer

indicated in a report to the court dated September 24, 2015, defendant committed several

violations related to illegal drug use. Between June 2014 and April 2015, defendant submitted

several random urinalysis tests, all of which were negative for illicit substances. However, on

April 22, 2015, he tested positive for THC and subsequently admitted using marijuana. At that

time, he vehemently denied the need or desire for substance abuse counseling. Nevertheless,

he continued to test positive: on May 20, 2015, June 5, 2015, June 22, 2015, July 9, 2015, July

22, 2015, and August 5, 2015. He indicated that he began using because he had been

removed from random urinalysis testing, and that he felt entitled to use because he was

employed and stable.2 Defendant further violated his conditions by missing a urinalysis test



      2
       Defendant eventually acknowledged his thinking errors during this time and recognized
negative peer associations as triggers to marijuana use. He tested negative on August 19,
2015, and I have been not been advised on any subsequent positives.

                                                3


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on December 8, 2014, receiving a traffic citation on February 27, 2015, and failing to notify his

supervising officer of changes to his residence on July 6, 2015. Despite these violations, the

probation officer recommended no action at that time, as the most recent drug test was

negative, defendant had maintained a stable residence, remained employed, and

accomplished a couple of goals while on supervised release. I agreed and allowed supervision

to continue.

       As defendant indicates in his reply, he has avoided further violations since the

September 2015 report.3 Nevertheless, based on the earlier violations, I cannot conclude that

defendant’s conduct on supervision, overall, has been exceptionally good. Defendant indicates

that, if he becomes a truck driver, travel restrictions would hinder his work. Interference with

employment or other positive endeavors can be a reason for terminating supervision, but

defendant has not yet completed the course and obtained employment as a driver, so his

concern is premature; because the probation officer may grant permission for out of district

travel, the concern is also speculative. See White, 2012 BL 275841, at *3 (rejecting as

speculative argument that supervision would interfere with work as a CDL truck driver).

Defendant provides no other grounds for concluding that the original supervision term should

be shortened.

       Consideration of the § 3553(a) factors also supports denial.            Defendant has a

substantial prior record, including convictions for retail theft in 1988, possession with intent to

deliver cocaine in 1989, disorderly conduct in 1992, obstructing an officer in 1993, possession

of cocaine and marijuana in 1993, resisting/obstructing and operating after revocation in 1995,


       3
       Defendant does not deny the violations. Rather, he objects to their consideration given
his compliance over the past year-plus.

                                                 4


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bail jumping in 1997, and marijuana possession in 1997 and 2007. He was on probation for

the 2007 marijuana case when he committed the instant offense, leading to revocation. The

original pre-sentence report also documented issues with marijuana abuse, which continued

during the instant supervision term. See 18 U.S.C. § 3553(a)(1). Given these issues,

continued supervision is warranted to deter further violations of law, § 3553(a)(2)(B), to protect

the public, § 3553(a)(2)(C), and to ensure that defendant avoids further illegal drug use, §

3553(a)(2)(D).4

                                               III.

       THEREFORE, IT IS ORDERED that defendant’s motion (R. 1600) is DENIED.5

       Dated at Milwaukee, Wisconsin, this 12th day of December, 2016.

                                           /s Lynn Adelman
                                           LYNN ADELMAN
                                           District Judge




       4
        The Sentencing Commission encourages district courts to grant early termination in
appropriate cases. U.S.S.G. § 5D1.2 cmt. n.5. “For example, the court may wish to consider
early termination of supervised release if the defendant is an abuser of narcotics, other
controlled substances, or alcohol who, while on supervised release, successfully completes a
treatment program, thereby reducing the risk to the public from further crimes of the
defendant.” Id. Defendant has denied the need for treatment, and for the reasons stated in
the text I do not find termination appropriate in this case.
       5
      In his motion, defendant requests appointed counsel. There is no right to appointed
counsel in these circumstances, see United States v. Leones, No. 4:11-cr-00298-BLW-7, 2016
BL 309179 (D. Idaho Sept. 19, 2016); 18 U.S.C. § 3006A(a)(1)(E), and defendant provides no
grounds for recruiting counsel.

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